 Case:18-05288-EAG11 Doc#:323 Filed:02/20/20 Entered:02/20/20 12:04:37      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
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 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                    Debtor(s)                     FILED & ENTERED ON FEB/20/2020
 8

 9
                                    ORDER CONFIRMING PLAN
10
           The Second Plan of Reorganization under Chapter 11 of the Bankruptcy Code
11
     filed by debtor on October 17, 2019 (docket #250), as supplemented at docket
12
     #315, having been transmitted to creditors and equity security holders; and
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14         It having been determined after hearing on notice that the requirements

15   for confirmation set forth in 11 U.S.C. §1129 have been satisfied;

16         IT IS ORDERED THAT:

17         The second amended plan filed by debtor dated October 17, 2019 (docket

18   #250), as supplemented at docket #315, is hereby confirmed.

19         The debtor shall give notice of this order and the confirmed plan to all

20   parties in interest.

21         IT IS SO ORDERED.
22         In Ponce, Puerto Rico, this 20 day of February, 2020.
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